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     EXHIBIT
       A
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Mandaton Stand..UPTilk: Ill ER1PIOV88S
JUIV 10, 2020
                                   .PiVlli11·flr-8ur Future
   •       The Postal Service has a long history of service to the nation, and we take pride in our
           ability to deliver mail and packages efficiently, timely, and safely.

   •       Right now, we are at a critical juncture in our organization and must rriake immediate,
           lasting, and impactful changes in our operations and in our culture.

   •       This operational pivot is long overdue ·and today, we are talking about the first step in a
           journey we must take together, for the health and stability of the Postal Service.

   •       Every single employee will receive this information, no matter what job they perform, so
           remember that YOU are an integral part of the success we will have - again, by working
           together.

   •       The initial step in our pivot is targeted on transportation and the soaring costs we incur,
           due to late trips and extra trips, which costs the organization somewhere around $200
           million in added expenses.                ·                                              ·

   •       The shifts are simple, but they will be challenging, as we seek to change our culture and
           move away from past practices previously used.

   •       Specific examples of transportation changes being implemented immediately (today):

   ./ All operations must meet our 24-hour clock commitment
   ./ All trips will depart on time (Network, Plant and Delivery); late trips are no longer
      authorized or accepted
   ./ Extra trips are no longer authorized or accepted
   ./ There must be proper annotation in the scanner, if a Contractor Failure occurs
   ./ All PVS/HCR drivers must be notified that trips depart on time.                .
   ./ Function 4 must start on time and end on time and we must make scheduled OUT
   ./ Carrie~s must begin on time, leave for the street on time, and return on time
   ./ Carriets must make the final dispatch of value; no additional transportation will be
      authorized to dispatch mail to the Plant after the intended dispatch
   ./ The right mail must go on the rigftt truck - every time
   ./ ALL EMPLOYEES have an essential role with trips departing on time.

       •   One aspect of these changes that may be difficult for employees is that .- temporarily -
           we may see mail left behind or mail on the workroom floor or docks (in P&DCs), which is
           not typical.

       •   We will address root causes of these delays and adjust the very next day.

       •    Any mail left behind must be properly reported, and employees should ensure this action
            is taken with integrity and .accuracy.
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•   A$ we adjust to the ongomg·pjvd.t; which.will.have a number of phases, we know that
    operations will begin torun
                              more efficiently and that delayed mail volumes win soon
    shrink significantly.

•   More information will be shared as we fully anp swiftly implement these strategies.

•   You play a direct role in the success of the Postal Se1vice, and your cooperation and
    teamwork are appreciated.

•   This is ~ critical time for us, when decisive, quick, and meaningful action is needed.

•   This operational pivot will ensure we can secure our future as a world-class service
    provider, improving our performance to fulfill our core mission of service to our
    customers.

•   Thank you for your support and your. teamwork.




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     EXHIBIT
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           PMGs expectations and plan
       The new PMG is. looking at COST. Making the USPS financially solvent ".'hlch
       we are not at this time. Her        ~of HISexpectations and they will be
       • ..._ ed . ·'·-            e are so.. ~
       im"""'"'°t '"~"'fl order:

       'POT wil be •llminattc!. This is not cost tffc<1m ....t ~ will be taktn ~·
       •owrlime will be efimfn.tted Apin wt are payinc to0 mll<h in OT and ~ Is
       not cost effttt~ and w;n ~.taken off the table. More to come on this.
       ' The USPS will no longer use tl((tsSIYt cost to get the basic job done. If the
       plants run late they will keep the mall !or the next day. If you get mail late
       and your Carrie~ art gone and you tin not get the mail out without OT it will
       remain for the next day. It must be reported In CSORS
                         .
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                  to report this In CSOFIS.
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SliiifZ
      '--------------~~~--
                            continued
   *All routes will have no more than 4 park points. We wlll be movi~g
   towards that this summer. Park points are abused, not cost effective
   and taken advantage of.
   • ouos are on the table again.
    •All routes will not start before their OUT. So If you are getting the
    OUT up late because of the work staff, you will change the start t.imes.
   The plants are not to send mail late. If the plants are not on time they
   will hold the mail for the next day. OUTs must be met or you will move
   your carriers to the OUT. This means we may have carriers starting as
   late as 0900 in some cases but will not start them any later.
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Electric...gone. Ma   ~:closed   many plant including 2 in Ohio, Packard        10
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we need stop think;na like. You all must be apart of this. Things will change and
                    8 ewe did decades ago.
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      EXHIBIT
        C
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     THOMAS    J.   MARSt-w.L
     GENERAL CouNsa
     N£J ExECUTIVE VICE PRESIDENT



m::!§ UNITEDSTIJTES
~ POSTIJL SERVICE




       July 22 , 2020




       The Honorable Carolyn B. Maloney                 The Honorable Gerald E. Connolly
       Chairwoman                                       Chairman
       Committee on Oversight and Reform                Subcommittee on Government Operations
       House of Representatives                         House of Representatives
       Washington, DC 20515-6143                        Washington , DC 20515-4611

       The Honorable Stephen F. Lynch                   The Honorable Brenda Lawrence
       Chairman                                         Committee on Oversight and Reform
       Subcommittee on National Security                House of Representatives
       House of Representatives                         Washington , DC 20515-6143
       Washington, DC 20515-2108

       Dear Chairwoman Maloney, Chairman Connolly, Chairman Lynch, and Congresswoman Lawrence:

       This is in response to your letter of July 20, 2020, concerning two documents that were the subject
       of recent news articles, and about operational efforts being implemented by the U.S. Postal Service.

       As information, please know that neither document referenced in your letter should be
       characterized as being "official Postal Service memoranda." Neither document orig inated from
       Postal Service Headquarters. The document entitled "PMG's Expectations and Plan" was prepared
       by a mid-level manager in one district, and the "stand-up talk" was prepared by Southern Area
       leadership and was distributed in the Southern Area . Therefore, the documents should not be
       treated as official statements of Postal Service policy.

       The Postal Service is focused on our mission of binding the nation together and providing the
       American people with prompt, reliable, and efficient postal services. The importance of that basic
       and fundamental service has never been more evident than it is today. At the same time, our long-
       standing financial challenges are also obvious. The Postal Service must develop a viable operating
       model that ensures we can continue to fulfill our public service mission in a financially sustainable
       manner and remain a part of the country's critical infrastructure.

       To address our financial challenges, management is developing a business plan to ensure that we
       will be financially stable and able to continue to provide reliable, affordable, safe and secure
       delivery of mail and packages to all Americans. This plan will be presented to and considered by
       the Board of Governors, and will include new and creative ways to fulfill our mission, and a focus on
       the strengths of the Postal Service to maximize our prospects for success. It will seek to take
       advantage of the tremendous opportunities available to us to strengthen the public service we
       provide, while also making changes needed to place the Postal Service in a financially healthy
       position. Once the Board has agreed to the plan, we would be happy to brief you or your staffs on
       the details.

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      FAX: 202-268-6981
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While we develop a broader business plan , Postal Service management is also taking immediate
steps to increase operational efficiency by re-emphasizing existing operational plans to provide
prompt and reliable service to meet our current service standards. By running operations on-time
and on-schedule, we will be better positioned to continue to provide high-quality, reasonably-priced
service to all people and businesses in the country.

These management efforts are fully consistent with our legal responsibilities-both to efficiently
provide service and to be self-supporting . In this regard, the Postal Service is obligated by statute
to provide prompt, reliable, and efficient service to the American people, in a self-sustaining
manner. See, e.g., 39 U.S.C. §§ 403(a}, 403(b)(1}, 404(b), 3622(b}, 3661(a). Fulfilling this
mandate established by Congress necessarily requires that Postal Service management continually
review our operational practices and make adjustments as necessary to ensure that we operate in
an efficient and effective manner. As with any such management efforts, any temporary service
impacts will be monitored and the root causes of any issues will be addressed as necessary and
corrected as appropriate.

Taking steps to enhance operational efficiency and reduce costs is particularly important in today's
environment, considering the Postal Service's dire financial condition. Indeed, as we have
repeatedly noted to Congress for many years, one essential aspect of restoring the Postal Service
to financial stability, in the face of declining mail volumes, is through management efforts to improve
efficiency.

These efforts are clearly within the legal authority of the Postmaster General, pursuant to the
delegation of authority in 39 C.F.R. § 3.5, and such delegation is authorized by law pursuant to 39
U.S.C. § 402. In this regard, the operational efforts at issue do not constitute service standard
changes that require the involvement of our Board of Governors. Nor was there any reason to
delay implementation until after the Board considers the broader plan which is being developed to
address the Postal Service's business model challenges.

Please be assured that we are aware of our legal obligations to request an advisory opinion before
implementing a "change in the nature of postal services which will generally affect service on a
nationwide or substantially nationwide basis" under 39 U.S.C. § 3661 (b) . None of the operational
efforts discussed here constitute such a change. To the extent that Postal Service management
develops proposals to make any such service changes within the scope of Section 3661 (b), and our
Board approves such proposals, we will make the appropriate requests to the Postal Regulatory
Commission.

Finally, the Postal Service is committed to delivering Election Mail in a timely manner. We employ a
robust and proven process to ensure proper handling of all Election Mail, including ballots, and we
are committed to our role in the electoral process where public policy decision makers choose to
utilize Election Mail as part of their election system. This includes close coordination and
partnerships with election officials at the local and state levels.

As we anticipate that many voters may choose to use the mail to participate in the upcoming
elections due to the impacts of the COVID-19 pandemic, we are conducting and will continue to
proactively conduct outreach with state and local election officials and Secretaries of State so that
they can make informed decisions and educate the public about what they can expect when using
the mail to vote. As part of these outreach efforts, we discuss our delivery processes and consult
with election officials about how they can design their mailings in a manner that comports with
postal regulations, improves mailpiece visibility, and ensures efficient and cost-effective processing
and delivery.
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We are also continuing outreach to political party officials to educate and build confidence in the
Postal Service's preparations for the expected surge in mail-in voting during the 2020 general
election. We would be happy to brief you or your staffs regarding these outreach efforts if you are
interested in further information .

We appreciate your ongoing interest in the Postal Service, and look forward to working with you to
ensure that we will be sustainable and that we will remain able to continue to fulfill our universal
service obligation for all people and businesses in America. If I can be of assistance in other postal
matters, please let me know.

Sincerely,
            Case 2:20-cv-04096-GAM Document 1-1 Filed 08/21/20 Page 16 of 55
       THOMAS    J.   MARSHALL
       GENEIW.. CruNsa
       ~   ElcECUTIVE V~ PAESIOENT


iiiir!l!f UNITED STllTES
~ POSTIJL SERVICE



        July 22 , 2020




        The Honorable Gary C. Peters
        Ranking Member
        Committee on Homeland Security
        and Governmental Affairs
        United States Senate
        Washington, DC 20510-6250

        Dear Senator Peters:

        This is in response to your letter of July 17, 2020, concerning two documents that were the
        subject of recent news articles, and about operational efforts being implemented by the U.S.
        Postal Service.

        As information, please know that neither document referenced in your letter should be
        characterized as being "official Postal Service memoranda." Neither document originated from
        Postal Service Headquarters. The document entitled "PMG's Expectations and Plan" was
        prepared by a mid-level manager in one district, and the "stand-up talk" was prepared by
        Southern Area leadership and was distributed in the Southern Area. Therefore, the documents
        should not be treated as official statements of Postal Service policy.

        The Postal Service is focused on our mission of binding the nation together and providing the
        American people with prompt, reliable, and efficient postal services. The importance of that
        basic and fundamental service has never been more evident than it is today. At the same time,
        our long-standing financial challenges are also obvious. The Postal Service must develop a
        viable operating model that ensures we can continue to fulfill our public service mission in a
        financially sustainable manner and remain a part of the country's critical infrastructure.

        To address our financial challenges, management is developing a business plan to ensure that
        we will be financially stable and able to continue to provide reliable, affordable, safe and secure
        delivery of mail and packages to all Americans. This plan will be presented to and considered by
        the Board of Governors, and will include new and creative ways to fulfill our mission, and a focus
        on the strengths of the Postal Service to maximize our prospects for success. It will seek to take
        advantage of the tremendous opportunities available to us to strengthen the public service we
        provide, while also making changes needed to place the Postal Service in a financially healthy
        position. Once the Board has agreed to the plan, we would be happy to brief you or your staff on
        the details.

        While we develop a broader business plan, Postal Service management is also taking immediate
        steps to increase operational efficiency by re-emphasizing existing operational plans to provide
        prompt and reliable service to meet our current service standards. By running operations on-
        time and on-schedule, we will be better positioned to continue to provide high-quality,
        reasonably-priced service to all people and businesses in the country.

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These management efforts are fully consistent with our legal responsibilities-both to efficiently
provide service and to be self-supporting . In this regard, the Postal Service is obligated by
statute to provide prompt, reliable, and efficient service to the American people, in a self-
sustaining manner. See, e.g. , 39 U.S.C . §§ 403(a), 403(b)(1), 404(b), 3622(b),
3661 (a). Fulfilling this mandate established by Congress necessarily requires that Postal
Service management continually review our operational practices and make adjustments as
necessary to ensure that we operate in an efficient and effective manner. As with any such
management efforts, any temporary service impacts will be monitored and the root causes of
any issues will be addressed as necessary and corrected as appropriate.

Taking steps to enhance operational efficiency and reduce costs is particularly important in
today's environment, considering the Postal Service's dire financial condition. Indeed, as we
have repeatedly noted to Congress for many years, one essential aspect of restoring the Postal
Service to financial stability, in the face of declining mail volumes, is through management efforts
to improve efficiency.

These efforts are clearly within the legal authority of the Postmaster General, pursuant to the
delegation of authority in 39 C.F.R. § 3.5, and such delegation is authorized by law pursuant to
39 U.S.C. § 402. In this regard, the operational efforts at issue do not constitute service
standard changes that require the involvement of our Board of Governors. Nor was there any
reason to delay implementation until after the Board considers the broader plan which is being
developed to address the Postal Service's business model challenges.

Finally, please be assured that we are aware of our legal obligations to request an advisory
opinion before implementing a "change in the nature of postal services which will generally affect
service on a nationwide or substantially nationwide basis" under 39 U.S.C. § 3661(b) . None of
the operational efforts discussed here constitute such a change. To the extent that Postal
Service management develops proposals to make any such service changes within the scope of
Section 3661 (b), and our Board approves such proposals, we will make the appropriate requests
to the Postal Regulatory Commission .

We appreciate your ongoing interest in the Postal Service, and look forward to working with you
to ensure that we will be sustainable and that we will remain able to continue to fulfill our
universal service obligation for all people and businesses in America. If I can be of assistance in
other postal matters, please let me know.
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      EXHIBIT
        D
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       DAVIDE. WILLIAMS
       CHIEF OPERATING OFFICER
       EXECUTIVE VICE PRESIDENT


~     UNITED STLlTES
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      August6,2020



      The Honorable Gary C. Peters                       The Honorable Charles E. Schumer
      Ranking Member                                     United States Senate
      Committee on Homeland Security                     Washington, DC 20510-3202
      and Governmental Affairs
      United States Senate
      Washington , DC 20510-6250

      The Honorable Thomas R. Carper                     The Honorable Amy Klobuchar
      Committee on Homeland Security                     United States Senate
      And Governmental Affairs                           Washington, DC 20510-2302
      United States Senate
      Washington, DC 20510-6250

      Dear Ranking Member Peters and Senators Schumer, Carper, and Klobuchar:

      This is in response to your letter of July 30, 2020, concerning U.S. Postal Service operations, as well
      as to some of the questions that were raised in a meeting hosted by Speaker Pelosi and Senator
      Schumer with the Postmaster General that I attended .

      The Postal Service is in a financially unsustainable position, stemming from substantial declines in
      mail volume, and a statutorily imposed business model that is broken. We are currently unable to
      balance our costs with available funding sources to fulfill both our universal service mission and other
      legal obligations. Because of this, the Postal Service has experienced over a decade of financial
      losses, with no end in sight, and we face an impending liquidity crisis.

      As we have repeatedly stated, Congress and the Postal Regulatory Commission must enact
      legislative and regulatory reforms to help address the situation. At the same time, it is imperative for
      the Postal Service to operate efficiently and effectively, while continuing to provide service that meets
      the needs of our customers. We recognize that there are alternatives to every product that we offer,
      and for that reason high-quality, reasonably-priced service is an imperative, but it is equally important
      to note that high-quality service and efficient service are not mutually exclusive, but in fact necessarily
      go hand-in-hand if we are to be self-sustaining as required by law. Indeed, achieving both is the only
      way that the Postal Service can continue to survive as a self-funded entity and to provide prompt,
      reliable, and reasonably-priced universal postal services for all Americans over the long-term.

      As such, we are vigorously focusing on the efficiency of our operations as a fundamental strategy to
      enable the provision of high-quality service in a financially sustainable manner. To start with, we
      have taken immediate steps to better adhere to our existing operating plans, which were developed
      precisely to ensure that we meet our present service standards in an efficient and effective manner.
      By running our operations on time and on schedule, we will enhance our ability to be sustainable and
      to be able to continue to provide high-quality, affordable service. Of course, we acknowledge that
      temporary service impacts can occur as we redouble our efforts to conform to the current operating
      plans, but any such impacts will be monitored and temporary as the root causes of any issues are


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 addressed and corrected. However, our long-term viability depends on us taking the transformative
 steps necessary to provide quality service in an even more efficient manner, so some temporary
 service issues are likely inevitable in our evolution. But you can rest assured that we will continually
 review our operational practices and make adjustments as required to ensure that we operate in an
 efficient and effective manner.

  Your letter and the meeting 1describe above both seek information about "operational changes"
  implemented under Postmaster General DeJoy. As an initial matter, in our efforts to reemphasize our
  existing operational plans, we are focused on improving our transportation efficiency. This means
  working to eliminate extra and late trips. The need to dispatch an extra truck or to hold a truck only
  arises when the mail being carried by those extra or late trips is off schedule in the first place.
  Therefore, a more disciplined transportation schedule exposes other areas in our system where
, adjustments or corrections are needed to keep the operational plan on schedule. In addition to an
  emphasis on eliminating extra and late trips, we are reducing unnecessary miles and more fully
  utilizing capacity. Given persistent volume declines, such efforts are necessary to ensure that trucks
  are not traveling long distances with limited volume onboard.

 In addition to transportation efforts, we are also focused on maximizing the efficiency of our
 processing and sortation equipment. Similar to truck capacity, the time and cost associated with
 running a machine grows significantly less efficient with less volume on the machine. By adhering to
 planned start and stop times, and running sort plans based on current volumes, we can maximize the
 efficiency of our processing operations and ensure that the mail departs from our plants on time. In
 some instances, we may be able to shift or remove equipment as appropriate. These efficiency
 efforts also permit further alignment of employee schedules with operating plans and prevent the
 negative downstream impacts to our operations when the mail leaves our plants late.

 Decreases in volume and improvements in automation also result in less need for carriers to
 manually sort mail. On July 25, 2020, we started the Expedited to Street/Afternoon Sortation (ESAS)
 pilot in 384 Post Offices across the country. The pilot decreases carrier time in the office in the
 mornings and ensures that our letter carriers start their routes on schedule. ESAS is designed to
 improve consistency in delivery times, increase carrier efficiency, ensure that there are no
 downstream effects as the result of our carriers arriving back to their post offices late, and reduce
 cost. Parcels, small parcels and rolls (how medicines are often sent), First-Class flats, election mail,
 Social Security and other benefit checks, and local newspapers will continue to be sorted in the
 morning and will not be impacted by the pilot. A small volume of mail not compatible in automation
 and some Marketing Mail that could not be sorted before the carriers leave the post offices will be
 sorted in the afternoon after carriers return from delivery. At the conclusion of the test, the Postal
 Service will evaluate any impact to customer service and operational efficiency. If the test is deemed
 successful, the Postal Service will take any necessary legal and regulatory steps prior to national
 expansion. Please find attached a presentation discussing the pilot.

 Contrary to media accounts and other accusations, there have been no edicts to delay the mail or
 eliminate overtime, although we are reemphasizing that operational managers must ensure that
 overtime is earned as the result of unexpected volume or other factors pursuant to our normal
 overtime analysis before it is approved. As indicated by the above efforts, we are working towards
 meeting our current operational plans in a manner that improves efficiency and service, not to slow
 down the mail. Closely following the operating plan should also decrease unnecessary overtime. As
 will reinforcement of the processes for approving overtime and aligning hours with workload to reduce
 unauthorized overtime.
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As discussed in the July 22 , 2020, response to Senator Peters, we explained that the Postmaster
General is working on a broader business plan that will be presented to and considered by the Postal
Service Board of Governors. We will keep our oversight committees informed as the business plan is
finalized, and as decisions are made on other significant interim efforts. We are also happy to set up
a time to speak with your staffs in this regard if that is what you prefer. In addition , we will respond to
Senator Schumer's questions concerning Election Mail in a separate letter.

I hope that this provides the additional clarification sought in your letter and appreciate your ongoing
interest in the Postal Service. If I can be of assistance in other postal matters, please let me know.




Enclosure
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      EXHIBIT
         E
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FOR IMMEDIATE RELEASE                                                               Contact Name
Aug. 7, 2020                                                                   David Partenheimer
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                                                                                   usps.com/news



  Postmaster General Louis DeJoy’s Opening Remarks for the
          USPS Board of Governors Aug. 7 Meeting
Below are the prepared opening remarks by Postmaster General and CEO Louis DeJoy for the
Postal Service Board of Governors open session meeting on Aug. 7, 2020. The remarks as
delivered may vary from the prepared text. An audio recording of the full meeting will be
available at https://about.usps.com/who/leadership/board-governors/briefings/welcome.htm.


“This is my first open session of the Board of Governors and I would like to offer my public
thanks to the Governors for entrusting me with this role. It is an incredible honor to serve the
public and this organization as Postmaster General.

I look forward to working with all of you, our management team, and the men and women of the
Postal Service – as well as our postal unions, management associations, customers and other
stakeholders.

We are at the beginning of a transformative process. Our goal is to change and improve the
Postal Service to better serve the American public, and I am excited about the opportunities
ahead.

I would also like to add my public welcome to Governors Lee Moak and Bill Zollars. Thank you
for joining this Board and for serving the American public. I look forward to working with you.

My first day on the job as Postmaster General was June 15th. Since then, I have been fully
immersed in understanding and evaluating all aspects of the postal organization and business
model.

We have conducted numerous deep-dive meetings in every core area of our business. We
have assessed previous plans as well as research and analysis about our products and
services and the competitive marketplace.

We have also dug deeply into our operational practices and the many ways we deliver value for
our customers, as well as the drivers of our troubling financial condition.

Let me start by saying that I am an optimist by nature, and as I take on this new role, I am
enthusiastic and energized about the prospects for our future and our untapped promise. I
have been extremely impressed by the dedication of the Postal Service workforce and their
commitment to the public service that we provide to the American people, and I am excited
about the fantastic competencies of this organization. I believe that there are tremendous
opportunities available to us, and I am very confident that we can turn our business around and
become financially healthy, while remaining a vital part of the nation’s critical infrastructure.

That said, I am a realist, and am keenly aware of the magnitude of the financial challenges we
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face. Our financial position is dire, stemming from substantial declines in mail volume, a broken
business model and a management strategy that has not adequately addressed these issues.
As a result, the Postal Service has experienced over a decade of financial losses, with FY 2019
approaching $9 billion and 2020 closing in on $11 billion in losses. Without dramatic change,
there is no end in sight, and we face an impending liquidity crisis.

At the same time, there is a critical need to make capital investments in order to ensure
effective and efficient operations, and meet the needs of the American people. Our financial
situation has forced us to defer capital investments over the past decade in order to preserve
liquidity, which is not a sustainable strategy for success. Most vitally, we need to invest in new
delivery vehicles so that our letter carriers can safely serve the American people and we can
participate in the growth of the new economy.

As we have repeatedly stated, Congress and the Postal Regulatory Commission have long
delayed much needed legislative and regulatory reforms to help address the situation.
Congress must enact reform legislation that addresses our unaffordable retirement payments.
Most importantly, Congress must allow the Postal Service to integrate our retiree health benefits
program with Medicare, which is a common-sense best practice followed by all businesses who
still offer retiree health care. Rather than sensationalizing isolated operational incidents that I
acknowledge can occur and have always occurred in a business of our size and scope or
attempting to impose unfunded mandates unrelated to any postal policies, I ask members of
Congress to take action on this one legislative burdensome issue that will actually make a
difference.

The Commission, meanwhile, must expeditiously resolve the 10-year review, and a design a
more rational regulatory system for our mail products. The 10-year review has been ongoing
for nearly 4 years, and it has been nearly 3 years since the Commission concluded that the
current system is not working, yet it has still not finalized a replacement system. Since that time
we have delivered over 480 billion pieces of mail and packages under a system that our
regulator acknowledges is not working, and we continue to wait for the required relief. Had
Congress and the PRC fulfilled their obligations to the American people concerning the Postal
Service, I am certain that nearly $80 billion of cumulative losses we have experienced since
2007 could have been avoided, and that the Postal Service’s operational and financial
performance would not be in jeopardy.

Drama and delay does not get the mail delivered on time, nor does it pay our bills. Without
timely legislative and regulatory reform, we will be forced to take aggressive measures to cut
costs and bridge the divide.

At the same time, the Postal Service has failed to engage a sufficient operating strategy that
adequately mitigated these predicted annual financial losses. We will not and cannot wait for
the legislative and regulatory process to save us. The Postal Service must do our part, by
pursuing every strategy within our control to ensure our success, and in that regard I know we
can do more. If we want to be viable for the long term, it is absolutely imperative for the Postal
Service to operate efficiently and effectively, while continuing to provide service that fulfills our
universal service mandate and meets the needs of our customers.

There are competitive alternatives to every product that we offer, and for that reason high-
quality, reasonably-priced service is an absolute necessity, but it is equally important for us to
embrace the reality that high quality service and efficient service are not mutually exclusive, but
instead must go hand-in hand if we are going to keep pace with our competition and be self-
sustaining, as our mandate requires.

The Postal Service is a great American institution with tremendous capabilities and prospects,
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and I know there is tremendous additional value within the Postal Service that needs to be
unlocked. To reach our full potential we need to be even better at everything we do well now,
but we also need to recognize our issues and urgently embrace the changes required to
unleash the full range of possibilities, and we need to start yesterday.

For that reason, we have begun by vigorously focusing on the ingrained inefficiencies in our
operations. To start with, we have taken immediate steps to better adhere to our existing
operating plans, which were developed precisely to ensure that we meet our present service
standards in an efficient and effective manner. By running our operations on time and on
schedule, and by not incurring unnecessary overtime or other costs, we will enhance our ability
to be sustainable and to be able to continue to provide high-quality, affordable service. I call on
every executive, employee, union and management association leader to join me in pursuing
this simple objective that every service organization needs to achieve in order to be successful.

As we implement our operating plans, we will aggressively monitor and quickly address service
issues. You can rest assured that we will continually review our operational practices and make
adjustments as required to ensure that we operate in an efficient and effective manner.

During the early days of my tenure we have also taken a fresh look at our operations and
considered any necessary organizational and structural adjustments that will best position us to
maximize our core competencies and key strengths. We are highly focused on our public
service mission. However, we collectively recognize that changes must be made, and for that
reason we will implement an organizational realignment that will refocus our business, improve
line of sight, enable faster solutions, reduce redundancies, and increase accountability. This
realignment will strengthen the Postal Service by enabling us to identify new opportunities to
generate revenue, so that we will have additional financial resources to be able to continue to
fulfill our universal service obligation to all of America.

Further, we also are now in the process of developing a series of additional actions, which, if
approved by the Board, will include new and creative ways for us to fulfill our mission, and will
likewise focus on our strengths to maximize our prospects for long-term success. We will
improve the products and services we provide, pursue new revenue areas, and continue to
operate more efficiently. The plan will consist of actions that the Postal Service can undertake
with the approval of the Governors, as well as elements requiring Congressional and Postal
Regulatory Commission actions.

As we move forward in developing and implementing these initiatives, I’m especially
appreciative of the strong efforts of our management team, and the many contributors within our
internal organization who are involved in this important process, and I likewise welcome the
good discussions and healthy debate that I have had with our union leadership already.

I am also thankful for the ongoing consultation with this Board regarding our business planning,
and I look forward to our ongoing dialogue.

While I have the pulpit, I also want to take the opportunity to clear up some misconceptions
some may have about me and the positions I intend to advance on behalf of the Postal Service.

First, while I certainly have a good relationship with the President of the United States, the
notion that I would ever make decisions concerning the Postal Service at the direction of the
President, or anyone else in the Administration, is wholly off-base. I serve at the pleasure of the
Governors of the Postal Service, a group that is bipartisan by statute and that will evaluate my
performance in a nonpartisan fashion. The Postal Service itself has a proud tradition of being a
nonpartisan organization, which I believe is one reason why the Postal Service is consistently
rated by the public as the most trusted federal entity. I intend to uphold the trust that has been
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placed in me by the Governors, and to fulfill my responsibilities to this organization and to the
public interest, by trying to make good decisions through the exercise of my best judgment and
business acumen gained through 35 years of commercial experience, and not based upon any
partisanship.

Second, let me be clear that with regard to Election Mail, the Postal Service and I are fully
committed to fulfilling our role in the electoral process. If public policy makers choose to utilize
the mail as a part of their election system, we will do everything we can to deliver Election Mail
in a timely manner consistent with our operational standards. We do ask election officials and
voters to be mindful of the time that it takes for us to deliver ballots, whether it is a blank ballot
going to a voter or a completed ballot going back to election officials. We have delivery
standards that have been in place for many years. These standards have not changed, and
despite any assertions to the contrary, we are not slowing down Election Mail or any other mail.
Instead, we continue to employ a robust and proven process to ensure proper handling of all
Election Mail.

We have been working closely with election and other public officials throughout the country to
ensure that they are well educated about the mailing process and can use the mail effectively to
administer elections. Ensuring that election officials throughout the country have an
understanding of our operational parameters, including the circumstances under which we
postmark mail and our delivery standards, so that they can educate voters accordingly, is
important to achieving a successful election season. Although there will likely be an
unprecedented increase in election mail volume due to the pandemic, the Postal Service has
ample capacity to deliver all election mail securely and on-time in accordance with our delivery
standards, and we will do so. However, as discussed, we cannot correct the errors of the
Election Boards if they fail to deploy processes that take our normal processing and delivery
standards into account.

Third, I was not appointed by the Governors to position the Postal Service to be privatized or to
manage its decline. To the contrary, I accepted the job of Postmaster General fully committed
to the role of the Postal Service as an integral part of the United States Government, providing
all Americans with universal and open access to our unrivalled processing and delivery network,
as reflected in the Mission Statement that the Board adopted on April 1, 2020. I fully embrace
six-day delivery of mail and packages as one of this organization’s greatest strengths and I plan
to invest in tools and equipment for our letter carriers, as well as enhance the stability of our
non-career workforce, to continue to provide the nation’s most trusted service. I accept the
responsibility that the Governors gave me to maintain and enhance our reputation and role as a
trusted face of the federal government in every community, and I intend to work with postal
executives, management associations, managers, union leadership, and our craft employees to
do everything I can to put us back on a financially stable path. I am confident that we can chart
a path forward that allows the Postal Service to fulfill our vital public service mission in a
sustainable manner. I look forward to the challenge, and know we are up to it.

Today, we are releasing our results for our third quarter, ended June 30. Joe Corbett, our Chief
Financial Officer, will review those results in detail this morning. I would like to provide just a
couple of comments on overall business conditions.

We have experienced some dramatic shifts in our business since the COVID-19 pandemic
began.

First and foremost, we have taken the steps necessary to make sure that our employees can
work safely. We have worked closely with our unions to assess the needs and fill the gaps, and
now there is a solid process in place to ensure the right protective equipment and other supplies
are in the right places.
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We have also seen an unprecedented increase in package deliveries since March. We expect
elevated package volumes will continue through the end of the year at least – and may have
some long-term staying power.

We are obviously highly attentive to changing consumer e-commerce behaviors and what this
means for our business. We are proud to be the carrier of choice for companies to reach
homes and businesses, especially during the current situation.

On the whole, while package growth has been strong, the changes in U.S. economic conditions
due to the pandemic are straining our financial situation. We have seen substantial declines in
mail volume, as well as significantly increased costs.

On Wednesday of last week, I announced that we have reached an agreement in principle with
the Department of the Treasury on the terms and conditions associated with $10 billion lending
authority provided in the CARES Act. I very much appreciate Treasury Secretary Steven
Mnuchin for working with me to reach mutually acceptable terms and conditions.

Access to an additional $10 billion in borrowing authority will delay the approaching liquidity
crisis and is a positive development. However, we remain on an unsustainable path which
cannot be solved simply by borrowing money which needs to be paid back with interest, since
our current path does not enable us to pay even our current bills, let alone new ones. We will
continue to focus on improving operational efficiency and pursuing other reforms in order to put
the Postal Service on a trajectory for long-term financial stability.

Before I conclude, I’d like to comment briefly on the public service mission of the organization.

I have been struck by the commitment and dedication of postal employees, who have truly gone
above and beyond in dealing with the COVID-19 pandemic.

The public support for the organization is extremely high because postal employees are so
committed to serving their communities and their customers. We aim to continually earn the
trust and support of the public.

In that regard, I’d like to conclude by thanking the 630,000 men and women of the Postal
Service for their hard work serving America’s communities. In addition to the challenges
presented by the pandemic, many parts of the country have experienced extreme heat this
summer, and the hurricane season has begun.

Thank you for your exceptional commitment to our mission of serving the nation. We
appreciate all you do, every day.”


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photo stills, visit the USPS Newsroom. Follow us on Twitter, Instagram, Pinterest, and LinkedIn. Subscribe
to the USPS YouTube channel, like us on Facebook and enjoy our Postal Posts blog. For more
information about the Postal Service, visit usps.com and facts.usps.com
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      THOMAS     J.   MARSHALL
      GENERAL COUNSEL

      AND ExECUTIVE VICE PRESIDENT



~     UNITEDSTJJTES
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     August 11, 2020




     The Honorable Carolyn B. Maloney
     Chairwoman
     Committee on Oversight and Reform
     House of Representatives
     Washington , DC 20515-6143

     Dear Chairwoman Maloney:

     This is in response to your August 6 letter to Postmaster General Louis DeJoy, which was
     cosigned by several of your colleagues, regarding U.S. Postal Service operations.

     As discussed in my July 22, 2020 response to you, Subcommittee on Government Operations
     Chairman Connolly, Subcommittee on National Security Chairman Lynch , and Congresswoman
     Lawrence, the documents repeatedly relied upon by members of Congress and the media
     regarding recent operational changes did not originate from Postal Service Headquarters and
     were not prepared by Postmaster General DeJoy. You raise concerns regarding the rhetoric in
     these documents, but as I also explained in the July 22 response, these documents should not be
     treated as official statements of Postal Service policy.

     That said , my July 22 response also made clear that the Postal Service is "taking immediate
     steps to increase operational efficiency by re-emphasizing existing operational plans to provide
     prompt and reliable service to meet our current service standards. " I also provided some details
     concerning those immediate steps, and explained why they were within the authority of the
     Postmaster General and did not require Board of Governors or regulatory approval. In addition ,
     although you correctly note in your recent letter that I did not specifically mention the new
     Expedited to StreeUAfternoon Sortation (ESAS) initiative in my response, my letter was intended
     to discuss our efforts generally, and that pilot initiative was not even started by the Postal Service
     until July 25, 2020, th ree days after my letter.

     Furthermore, while not addressed in your August 6 letter, on August 4, 2020, Chief Logistics and
     Processing Operations Officer and Executive Vice President David E. Williams briefed the
     Committee on Oversight and Reform staff with more detail regarding these "immediate steps,"
     including the ESAS pilot. I participated in this briefing as well, along with Chief Financial Officer
     and Executive Vice President, Joseph Corbett and Finance and Strategy Senior Vice President
     Luke Grossmann . We spoke with the staff for approximately one and a half hours, explaining the
     steps being taken and the rationale for those steps.




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The Postal Service is in a financially unsustainable position, stemming from substantial declines
in mail volume, and a statutorily imposed business model that is broken. We are currently unable
to balance our costs with available funding sources to fulfill both our universal service mission
and other legal obligations. Because of this, the Postal Service has experienced over a decade
of financial losses, with no end in sight, and we face an impending liquidity crisis.

As we have repeatedly stated , Congress and the Postal Regulatory Commission must enact
legislative and regulatory reforms to help address the situation . At the same time, it is imperative
for the Postal Service to operate efficiently and effectively, while continuing to provide service that
achieves our universal service mission and meets the needs of our customers. We recognize
that there are alternatives to every product that we offer, and for that reason high-quality,
reasonably-priced service is an imperative. It is equally important to note that high-quality service
and efficient service are not mutually exclusive, but in fact necessarily go hand-in-hand if we are
to be self-sustaining as required by law. Indeed, achieving both is the only way that the Postal
Service can continue to survive as a self-funded entity and to provide prompt, reliable, and
reasonably-priced universal postal services for all Americans over the long-term.

As such, we are vigorously focusing on the efficiency of our operations as a fundamental strategy
to enable the provision of high-quality service in a financially sustainable manner. As explained in
the July 22 letter and during the August 4 briefing, we have taken immediate steps to better
adhere to our existing operating plans, which were developed precisely to ensure that we meet
our present service standards in an efficient and effective manner. By running our operations on
time and on schedule, we will enhance our ability to be sustainable and to be able to continue to
provide high-quality, affordable service. Of course, we acknowledge that temporary service
impacts can occur as we redouble our efforts to conform to the current operating plans, but any
such impacts will be monitored and temporary as the root causes of any issues are addressed
and corrected. However, our long-term viability depends on us taking the transformative steps
necessary to provide quality service in an even more efficient manner. But you can rest assured
that we will continually review our operational practices and make adjustments as required to
ensure that we operate in an efficient and effective manner.

More specifically, and as discussed with the Committee on Oversight and Reform staff on August
4, in our efforts to reemphasize our existing operational plans, we are focused on improving our
transportation efficiency. This means working to eliminate extra and late trips. The need to
dispatch an extra truck or to hold a truck only arises when the mail being carried by those extra or
late trips is off schedule in the first place. Therefore, a more disciplined transportation schedule
exposes other areas in our system where adjustments or corrections are needed to keep the
operational plan on schedule. In addition to an emphasis on eliminating extra and late trips, we
are reducing unnecessary miles and more fully utilizing capacity. Given persistent volume
declines, such efforts are necessary to ensure that trucks are not traveling long distances with
limited volume onboard .

In addition to transportation efforts, we are also focused on maximizing the efficiency of our
processing and sortation equipment. Similar to truck capacity, the time and cost associated with
running a machine grows significantly less efficient with less volume on the machine. By
adhering to planned start and stop times, and running sort plans based on current volumes, we
can maximize the efficiency of our processing operations and ensure that the mail departs from
our plants on time. In some instances, we may be able to shift or remove equipment as
appropriate. These efficiency efforts also permit further alignment of employee schedules with
operating plans and prevent the negative downstream impacts to our operations when the mail
leaves our plants late.
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Decreases in volume and improvements in automation also result in less need for carriers to manually
sort mail. On July 25, 2020, we started the ESAS pilot in 384 Post Offices across the country. The pilot
decreases carrier time in the office in the mornings and ensures that our letter carriers start their routes
on schedule. ESAS is designed to improve consistency in delivery times, increase carrier efficiency,
ensure that there are no downstream effects as the result of our carriers arriving back to their Post Offices
late, and reduce cost. Parcels, small parcels and rolls (how medicines are often sent), First-Class flats,
election mail, Social Security and other benefit checks, and local newspapers will continue to be sorted in
the morning and will not be impacted by the pilot. A small volume of mail not compatible with automation
and some Marketing Mail that could not be sorted before the carriers leave the Post Offices will be sorted
in the afternoon after carriers return from delivery. At the conclusion of the test, the Postal Service will
evaluate any impact to customer service and operational efficiency. If the test is deemed successful, the
Postal Service will take any necessary legal and regulatory steps prior to national expansion. Please find
attached a presentation discussing the pilot.

Contrary to media accounts and other accusations, there have been no edicts to delay the mail or
eliminate overtime, although we are reemphasizing that operational managers must ensure that overtime
is earned as the result of unexpected volume or other factors, pursuant to our normal overtime analysis,
before it is approved. As indicated by the above efforts, we are working towards meeting our current
operational plans in a manner that improves efficiency and service, and does not slow down the mail.
Closely following the operating plan should also decrease unnecessary overtime, as will reinforcement of
the processes for approving overtime and aligning hours with workload to reduce unauthorized overtime.

We trust that you will find that the above information is consistent with the information shared with the
Committee on Oversight and Reform staff at the August 4, 2020 briefing, and we will work to keep our
oversight committees informed as decisions are made on other significant efforts. In that regard, we are
in the process of scheduling a staff level briefing to discuss the organizational changes which we made
on Friday to our management structure to realign our business and provide focus and clarity. Finally,
Postmaster DeJoy looks forward to participating in the Committee on Oversight and Reform hearing
scheduled for September 17 to further discuss these operational efforts, which are all designed to return
the Postal Service to a financially sustainable path while providing efficient service to our customers that
meets their needs.

I hope th is provides additional clarification and I appreciate your ongoing interest in the Postal Service. If
I can be of assistance in other postal matters, please let me know.

Sincerely,




Enclosure
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  Daily News: August 14, 2020

   Link Extra
   Path forward
   PMG addresses restructuring
   Aug. 13 at 4:18 p.m.


   Postmaster General Louis DeJoy distributed the following memo to USPS
   employees on Aug. 13:

   Today, I am in my ninth week as Postmaster General. I am grateful to everyone
   who has welcomed me, and I am thoroughly impressed by the dedication and
   commitment you have shown since I started June 15.

   Last week was extremely busy for all of us with the announcement that we are
   restructuring into three operating units. I purposely timed the announcement
   with my first open meeting of the Board of Governors to set the stage with
   public statements emphasizing that we are developing a strategic plan to
   achieve operational excellence and financial stability. Our plan will be based on
   facts and data, and together, we can systematically roll out this plan and
   position ourselves for future success.

   Let me be clear about the reasons behind our restructuring and the need for
   our plan. Our financial condition is dire. Ongoing declines in mail volume, a
   broken business model that Congress and the Postal Regulatory Commission
   have failed to act upon, and the crippling economic impact of the coronavirus
                                                                                      Postmaster General Louis DeJoy
   pandemic have all combined to bring us to where we stand today. Our critics
   are quick to point to our finances, yet they offer no solution. On the other hand,
   our restructuring and the plan we are developing provide a path to our transformation into a financially stable
   organization. I repeat again how excited I am to take on these challenges, with your support, to improve the
   Postal Service and better serve our nation. Together, our leadership team and I are taking aggressive and
   professional actions to ensure a successful future for the Postal Service.

   In order to transform and remain a self-sustaining, mission-focused organization that continues to serve the
   American people, we must make a number of significant changes that will not be easy, but are necessary. We
   must re-establish fundamental operating principles and then adhere to them and run on time. It is the only path
   to consistent, affordable service and it is foundational to our future aspirations and objectives. As you know, we
   began those efforts right away, as it was imperative for us to strengthen these disciplines immediately by
   running our trips with mail and packages according to established schedules.

   I congratulate you on substantial improvements in our on-time dispatch schedule, which reached 97.3 percent,
   up from 89.8 percent. We also have reduced extra trips by 71 percent — a tremendous achievement. This
   means more mail is being moved to its intended destination on time and on schedule than in quite some time.

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   And we accomplished this in a cost-effective manner. This marks the beginning of our journey toward world-
   class performance necessary for us to compete and be sustainable.

   Unfortunately, this transformative initiative has had unintended consequences that impacted our overall service
   levels. However, recent changes are not the only contributing factors. Over the years we have grown
   undisciplined in our mail and package processing schedules, causing an increase in delayed mail between
   processing facilities and delivery units. We are working feverishly to stabilize this, so that all mail and packages
   moved for the American people and businesses can benefit from this new cost and schedule discipline. This will
   increase our performance for the election and upcoming peak season and maintain the high level of public trust
   we have earned for dedication and commitment to our customers throughout our history.

   I also firmly believe that the realignment we announced last week will ultimately help us to stabilize and improve
   service and provide positive forward momentum as we work to transform our business. We needed to provide
   greater focus on the core aspects of our business, and the new structure allows that, with clearer lines of
   authority and accountability. While it will take some time to get the new organizational structure fully in place and
   achieving our expected levels of high performance, we are confident that it is the right alignment and that it was
   a change that needed to be made. As I said in my first video message to you, “I am decisive, and … when I see
   problems, I work to solve them.” I ask you to bear with me while we work through these changes to transform for
   the better and continue to provide the excellent service for which we are known.

   During my remarks at the Board of Governors meeting, I stated that I accepted the job of Postmaster General
   fully committed to the role of the Postal Service as an integral part of the United States government, providing all
   Americans with universal and open access to our unrivaled processing and delivery network, as reflected in the
   mission statement that the board adopted April 1. I repeat that statement here, because I meant it.

   I fully embrace six-day delivery of mail and packages as one of this organization’s greatest strengths. I plan to
   invest in tools and equipment for our workforce to continue to provide the nation’s most trusted public service. I
   accept the responsibility that the governors gave me to maintain and enhance our reputation and role as a
   trusted face of the federal government in every community, and I intend to work with postal executives,
   management associations, managers, union leadership, and our craft employees to do everything I can to put
   us back on a financially stable path.

   Together, I am confident we will chart a path forward that allows us to fulfill our critical public service mission in a
   financially sustainable manner. I look forward to the challenge, and I know we are up to it.




   ‘Retirement 101’
   Webinar to be held Aug. 18
   Aug. 13 at 11:24 a.m.


   Postal Service employees can participate in an upcoming webinar on preparing for retirement.

   The session, “Retirement 101,” will be held Tuesday, Aug. 18, at noon EDT.

   Aetna will conduct the webinar, which will help participants understand how benefits might work nationwide and
   overseas. Participants can also learn about tools and resources that are available before and after retirement.

   Additionally, the webinar will feature a discussion of Tricare dental insurance and include time for questions.

   Participants must register before the event on the webinar website. After signing up, directions will be emailed to
https://link.usps.com/2020/08/14/                                                                                             2/9
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FOR IMMEDIATE RELEASE                                                 Contact: David Partenheimer
Aug. 18, 2020                                                      david.a.partenheimer@usps.gov
                                                                                   usps.com/news




               Postmaster General Louis DeJoy Statement

WASHINGTON, DC — Postmaster General Louis DeJoy issued the following statement today:

“The United States Postal Service will play a critical role this year in delivering election mail for
millions of voters across the country. There has been a lot of discussion recently about whether
the Postal Service is ready, willing and able to meet this challenge.

I want to make a few things clear:

The Postal Service is ready today to handle whatever volume of election mail it receives this
fall. Even with the challenges of keeping our employees and customers safe and healthy as
they operate amid a pandemic, we will deliver the nation’s election mail on time and within our
well-established service standards. The American public should know that this is our number
one priority between now and election day. The 630,000 dedicated women and men of the
Postal Service are committed, ready and proud to meet this sacred duty.

I am announcing today the expansion of our current leadership taskforce on election mail to
enhance our ongoing work and partnership with state and local election officials in jurisdictions
throughout the country. Leaders of our postal unions and management associations have
committed to joining this taskforce to ensure strong coordination throughout our organization.
Because of the unprecedented demands of the 2020 election, this taskforce will help ensure
that election officials and voters are well informed and fully supported by the Postal Service.

I came to the Postal Service to make changes to secure the success of this organization and its
long-term sustainability. I believe significant reforms are essential to that objective, and work
toward those reforms will commence after the election. In the meantime, there are some
longstanding operational initiatives — efforts that predate my arrival at the Postal Service —
that have been raised as areas of concern as the nation prepares to hold an election in the
midst of a devastating pandemic. To avoid even the appearance of any impact on election mail,
I am suspending these initiatives until after the election is concluded.

I want to assure all Americans of the following:

    •   Retail hours at Post Offices will not change.

    •   Mail processing equipment and blue collection boxes will remain where they are.

    •   No mail processing facilities will be closed.

    •   And we reassert that overtime has, and will continue to be, approved as needed.

In addition, effective Oct. 1, we will engage standby resources in all areas of our operations,
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including transportation, to satisfy any unforeseen demand.

I am grateful for the commitment and dedication of all the men and women of the Postal
Service, and the trust they earn from the American public every day, especially as we continue
to contend with the impacts of COVID-19. As we move forward, they will have the full support of
our organization throughout the election.”


                                                  ###

Please Note: For U.S. Postal Service media resources, including broadcast-quality video and audio and
photo stills, visit the USPS Newsroom. Follow us on Twitter, Instagram, Pinterest, and LinkedIn. Subscribe
to the USPS YouTube channel, like us on Facebook and enjoy our Postal Posts blog. For more
information about the Postal Service, visit usps.com and facts.usps.com
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      EXHIBIT
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            Case 2:20-cv-04096-GAM Document 1-1 Filed 08/21/20 Page 39 of 55
       THOMAS    J.   MARSHALL
       GENERAL COUNSEL
      AND ExEClJTI\IE VICE PRESIDENT



m=!!f!!I UNITED STJJTES
~ POSTIJL SERVICE


       July 29, 2020



       Honorable Kathy Boockvar
       Secretary of the Commonwealth of Pennsylvania
       302 North Capitol Building
       Harrisburg, PA 17120-0001

       Dear Secretary Boockvar:

       Re: Deadlines for Mailing Ballots

       With the 2020 General Election rapidly approaching, this letter follows up on my letter dated May 29,
       2020, which I sent to election officials throughout the country. That letter highlighted some key
       aspects of the Postal Service's delivery processes. The purpose of this letter is to focus specifically
       on the deadlines for requesting and casting ballots by mail. In particular, we wanted to note that,
       under our reading of Pennsylvania's election laws, certain deadlines for requesting and casting mail-
       in ballots are incongruous with the Postal Service's delivery standards. This mismatch creates a risk
       that ballots requested near the deadline under state law will not be returned by mail in time to be
       counted under your laws as we understand them.

       As I stated in my May 29 letter, the two main classes of mail that are used for ballots are First-Class
       Mail and USPS Marketing Mail, the latter of which includes the Nonprofit postage rate. Voters must
       use First-Class Mail (or an expedited level of service) to mail their ballots and ballot requests, while
       state or local election officials may generally use either First-Class Mail or Marketing Mail to mail
       blank ballots to voters. While the specific transit times for either class of mail cannot be guaranteed,
       and depend on factors such as a given mailpiece's place of origin and destination, most domestic
       First-Class Mail is delivered 2-5 days after it is received by the Postal Service, and most domestic
       Marketing Mail is delivered 3-10 days after it is received.

       To account for these delivery standards and to allow for contingencies (e.g., weather issues or
       unforeseen events), the Postal Service strongly recommends adhering to the following timeframe
       when using the mail to transmit ballots to domestic voters:

            •     Ballot requests: Where voters will both receive and send a ballot by mail, voters should
                  submit their ballot request early enough so that it is received by their election officials at least
                  15 days before Election Day at a minimum, and preferably long before that time.

            •     Mailing blank ballots to voters: In responding to a ballot request, election officials should
                  consider that the ballot needs to be in the hands of the voter so that he or she has adequate
                  time to complete it and put it back in the mail stream so that it can be processed and
                  delivered by the applicable deadline. Accordingly, the Postal Service recommends that
                  election officials use First-Class Mail to transmit blank ballots and allow 1 week for delivery
                  to voters. Using Marketing Mail will result in slower delivery times and will increase the risk
                  that voters will not receive their ballots in time to return them by mail.



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    •   Mailing completed ballots to election officials: To allow enough time for ballots to be
        returned to election officials, domestic voters should generally mail their completed ballots at
        least one week before the state's due date. So, if state law requires ballots to be returned by
        Election Day, voters should mail their ballots no later than Tuesday, October 27.

Under our reading of your state's election laws, as in effect on July 27, 2020, certain state-law
requirements and deadlines appear to be incompatible with the Postal Service's delivery standards
and the recommended timeframe noted above. As a result, to the extent that the mail is used to
transmit ballots to and from voters, there is a significant risk that, at least in certain circumstances,
ballots may be requested in a manner that is consistent with your election rules and returned
promptly, and yet not be returned in time to be counted.

Specifically, it appears that a completed ballot must be received by Election Day to be counted. If
that understanding is correct, we accordingly recommend, as noted above, that voters who choose
to mail their ballots do so no later than Tuesday, October 27. However, it further appears that state
law generally permits voters to request a ballot as late as 7 days before the November general
election. If a voter submits a request at or near that deadline, and the ballot is transmitted to the
voter by mail, there is a significant risk that the voter will not have sufficient time to complete and
mail the completed ballot back to election officials in time for it to arrive by the state's return deadline.
That risk is exacerbated by the fact that the law does not appear to require election officials to
transmit a ballot until 48 hours after receiving a ballot application .

To be clear, the Postal Service is not purporting to definitively interpret the requirements of your
state's election laws, and also is not recommending that such laws be changed to accommodate the
Postal Service's delivery standards. By the same token, however, the Postal Service cannot adjust
its delivery standards to accommodate the requirements of state election law. For this reason, the
Postal Service asks that election officials keep the Postal Service's delivery standards and
recommendations in mind when making decisions as to the appropriate means used to send a piece
of Election Mail to voters, and when informing voters how to successfully participate in an election
where they choose to use the mail. It is particularly important that voters be made aware of the
transit times for mail (including mail-in ballots) so that they can make informed decisions about
whether and when to (1) request a mail-in ballot, and (2) mail a completed ballot back to election
officials.

We remain committed to sustaining the mail as a secure, efficient, and effective means to allow
citizens to participate in the electoral process when election officials determine to utilize the mail as a
part of their election system. Ensuring that you have an understanding of our operational capabilities
and recommended timelines, and can educate voters accordingly, is important to achieving a
successful election season. Please reach out to your assigned election mail coordinator to discuss
the logistics of your mailings and the services that are available as well as any questions you may
have. A list of election mail coordinators may be found on our website at:
https://about.usps.com/election-mail/politicalelection-mail-coordinators.pdf.

We hope the information contained in this letter is helpful, and please let me know if you have any
questions or concerns.

Sincerely,
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      THOMAS    J.   MARSHALL
      GENERAL COUNSEL

      AND ExEcvnVE VICE PRESIDENT



m:!J!!f UNITED STIJTES
l!il POSTIJL SERVICE
      July 31, 2020


      Honorable Alex Padilla
      California Secretary of State
      1500 11th Street
      Sacramento, CA 95814-5701

       Dear Secretary Padilla:

       Re: Deadlines for Mailing Ballots

      With the 2020 General Election rapidly approaching, this letter follows up on my letter dated May 29,
      2020, which I sent to election officials throughout the country. That letter highlighted some key
      aspects of the Postal Service's delivery processes. The purpose of this letter is to focus specifically
      on the deadlines for transmitting and casting ballots by mail. Under our reading of California's
      election laws, the vast majority of your voters should have sufficient time to receive, complete, and
      return their ballots by the state's deadlines. However, certain deadlines concerning mail-in ballots,
      particularly with respect to new residents who register to vote shortly before Election Day, appear to
      be incongruous with the Postal Service's delivery standards. This mismatch creates a significant risk
      that some ballots will not be returned by mail in time to be counted under your laws as we
      understand them .

      As I stated in my May 29 letter, the two main classes of mail that are used for ballots are First-Class
      Mail and USPS Marketing Mail, the latter of which includes the Nonprofit postage rate. Voters must
      use First-Class Mail (or an expedited level of service) to mail their ballots and ballot requests, while
      state or local election officials may generally use either First-Class Mail or Marketing Mail to mail
      blank ballots to voters. While the specific transit times for either class of mail cannot be guaranteed,
      and depend on factors such as a given mailpiece's place of origin and destination, most domestic
      First-Class Mail is delivered 2-5 days after it is received by the Postal Service, and most domestic
      Marketing Mail is delivered 3-10 days after it is received.

       For states that intend to automatically send blank mail-in ballots to eligible voters, the Postal Service
       strongly recommends adhering to the following timeline for domestic voters to account for the above
       delivery standards and to allow for contingencies (e.g., weather issues or unforeseen events):

            •        Voter registration: Whenever possible, voters who intend to cast a ballot using the mail
                     should ensure that their registration information is up-to-date in time to have a blank ballot
                     sent to them in the state's initial scheduled mailing.

            •        Mailing blank ballots to voters: Election officials should consider that the ballot needs to
                     be in the hands of the voter so that he or she has adequate time to complete it and put it
                     back in the mail stream so that it can be processed and delivered by the applicable deadline.
                     Accordingly, the Postal Service recommends that election officials use First-Class Mail to
                     transmit blank ballots and allow 1 week for delivery to voters. Using Marketing Mail will
                     result in slower delivery times and will increase the risk that voters will not receive their
                     ballots in time to return them by mail.


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    •   Mailing completed ballots to election officials: To allow enough time for ballots to be
        returned to election officials, domestic voters should generally mail their completed ballots at
        least one week before the state's due date. In states that require mail-in ballots to be both
        postmarked by Election Day and received by election officials by a specific date that is one
        week or more after Election Day, voters may generally mail their ballot on or before Election
        Day. However, voters who mail in their ballots on Election Day must be aware of the posted
        collection times on collection boxes and at the Postal Service's retail facilities, and that
        ballots entered after the last posted collection time on a given day will not be postmarked
        until the following business day.

Under our reading of your state's election laws, as in effect on July 27, 2020, ballots are generally
mailed to eligible voters beginning no later than 29 days before Election Day, which should allow
sufficient time for voters to receive, complete, and return such ballots by the state's deadline.
However, certain state-law requirements and deadlines concerning new residents who register to
vote after that initial mailing date appear to be incompatible with the Postal Service's delivery
standards and the recommended timeframe noted above. As a result, to the extent that the mail is
used to transmit ballots to and from these voters, there is a significant risk that, at least in certain
circumstances, ballots may be sent to voters in a manner that is consistent with your election rules
and returned promptly, and yet not be returned in time to be counted.

Specifically, it appears that a completed ballot must be postmarked by Election Day and received 17
days after the November general election. If that understanding is correct, voters who choose to
mail their ballots may do so on or before Tuesday, November 3. However, it further appears that
state law generally permits new residents to register as late as 7 days before the election and that
election officials thereafter have 5 days to transmit a ballot to the voter. If a voter registers at or near
that deadline, and if the election official transmits the ballot to the voter by mail several days later,
there is a significant risk that the ballot will not reach the voter before Election Day, and accordingly
that the voter will not be able to use the ballot to cast his or her vote. A similar risk would be present
for any other individual who is allowed to register or update their registration information after the
state's regular registration deadline.

To be clear, the Postal Service is not purporting to definitively interpret the requirements of your
state's election laws, and also is not recommending that such laws be changed to accommodate the
Postal Service's delivery standards. By the same token, however, the Postal Service cannot adjust
its delivery standards to accommodate the requirements of state election law. For this reason, the
Postal Service asks that election officials keep the Postal Service's delivery standards and
recommendations in mind when making decisions as to the appropriate means used to send a piece
of Election Mail to voters, and when informing voters how to successfully participate in an election
where they choose to use the mail. It is particularly important that voters be made aware of the
transit times for mail (including mail-in ballots) so that they can make informed decisions about when
to update their registration information and whether and when to mail a completed ballot back to
election officials.

We remain committed to sustaining the mail as a secure, efficient, and effective means to allow
citizens to participate in the electoral process when election officials determine to utilize the mail as a
part of their election system. Ensuring that you have an understanding of our operational capabilities
and recommended timelines, and can educate voters accordingly, is important to achieving a
successful election season. Please reach out to your assigned election mail coordinator to discuss
the logistics of your mailings and the services that are available as well as any questions you may
have. A list of election mail coordinators may be found on our website at:
https://about.usps.com/election-mail/politicalelection-mail-coordinators.pdf.
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We hope the information contained in this letter is helpful, and please let me know if you have any
questions or concerns.

Sincerely,
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        THOMAS     J.   MARSHALL
        GENERAL COUNSEL

        AND ExECVTIVE V ICE PRESIDENT



;;;;:t!!!fff UNITED STIJ.TES
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         July 29, 2020



         Honorable Anthony Albence
         State Election Commissioner
         905 S. Governors Avenue
         Dover, DE 19904-4112

         Dear Commissioner Albence:

         Re: Deadlines for Mailing Ballots

        With the 2020 General Election rapidly approaching , this letter follows up on my letter dated May 29,
        2020, which I sent to election officials throughout the country. That letter highlighted some key       ·
        aspects of the Postal Service's delivery processes. The purpose of this letter is to focus specifically
        on the deadlines for requesting and casting ballots by mail. In particular, we wanted to note that,
        under our reading of Delaware's election laws, certain deadlines for requesting and casting mail-in
        ballots are incongruous with the Postal Service's delivery standards. This mismatch creates a risk
        that ballots requested near the deadline under state law will not be returned by mail in time to be
        counted under your laws as we understand them.

        As I stated in my May 29 letter, the two main classes of mail that are used for ballots are First-Class
        Mail and USPS Marketing Mail, the latter of which includes the Nonprofit postage rate. Voters must
        use First-Class Mail (or an expedited level of service) to mail their ballots and ballot requests, while
        state or local election officials may generally use either First-Class Mail or Marketing Mail to mail
        blank ballots to voters. While the specific transit times for either class of mail cannot be guaranteed ,
        and depend on factors such as a given mailpiece's place of origin and destination, most domestic
        First-Class Mail is delivered 2-5 days after it is received by the Postal Service, and most domestic
        Marketing Mail is delivered 3-10 days after it is received.

        To account for these delivery standards and to allow for contingencies (e.g., weather issues or
        unforeseen events}, the Postal Service strongly recommends adhering to the following timeframe
        when using the mail to transmit ballots to domestic voters:

              •      Ballot requests: Where voters will both receive and send a ballot by mail, voters should
                     submit their ballot request early enough so that it is received by their election officials at least
                     15 days before Election Day at a minimum, and preferably long before that time.

              •      Mailing blank ballots to voters: In responding to a ballot request, election officials should
                     consider that the ballot needs to be in the hands of the voter so that he or she has adequate
                     time to complete it and put it back in the mail stream so that it can be processed and
                     delivered by the applicable deadline. Accordingly, the Postal Service recommends that
                     election officials use First-Class Mail to transmit blank ballots and allow 1 week for delivery
                     to voters. Using Marketing Mail will result in slower delivery times and will increase the risk
                     that voters will not receive their ballots in time to return them by mail.




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    •    Mailing completed ballots to election officials: To allow enough time for ballots to be
         returned to election officials, domestic voters should generally mail their completed ballots at
         least one week before the state's due date. So, if state law requires ballots to be returned by
         Election Day, voters should mail their ballots no later than Tuesday, October 27.

Under our reading of your state's election laws, as in effect on July 27, 2020, certain state-law
requirements and deadlines appear to be incompatible with the Postal Service's delivery standards
and the recommended timeframe noted above. As a result, to the extent that the mail is used to
transmit ballots to and from voters, there is a significant risk that, at least in certain circumstances,
ballots may be requested in a manner that is consistent with your election rules and returned
promptly, and yet not be returned in time to be counted.

Specifically, it appears that a completed ballot must be received by Election Day to be counted. If
that understanding is correct, we accordingly recommend, as noted above, that voters who choose
to mail their ballots do so no later than Tuesday, October 27. However, it further appears that state
law generally permits voters to apply by mail for a ballot until the day before Election Day and
provides that ballots will be mailed to voters until 4 days before the election. If a requested ballot is
transmitted to the voter by mail at or near that 4-day deadline, there is a significant risk that the ballot
will not reach the voter before Election Day, and accordingly that the voter will not be able to use the
ballot to cast his or her vote. Even if a voter receives a ballot before Election Day, there is a
significant risk that the voter will not have sufficient time to complete and mail the completed ballot
back to election officials in time for it to arrive by the state's return deadline.

To be clear, the Postal Service is not purporting to definitively interpret the requirements of your
state's election laws, and also is not recommending that such laws be changed to accommodate the
Postal Service's delivery standards. By the same token, however, the Postal Service cannot adjust
its delivery standards to accommodate the requirements of state election law. For this reason, the
Postal Service asks that election officials keep the Postal Service's delivery standards and
recommendations in mind when making decisions as to the appropriate means used to send a piece
of Election Mail to voters, and when informing voters how to successfully participate in an election
where they choose to use the mail. It is particularly important that voters be made aware of the
transit times for mail (including mail-in ballots) so that they can make informed decisions about
whether and when to (1) request a mail-in ballot, and (2) mail a completed ballot back to election
officials.

We remain committed to sustaining the mail as a secure, efficient, and effective means to allow
citizens to participate in the electoral process when election officials determine to utilize the mail as a
part of their election system . Ensuring that you have an understanding of our operational capabilities
and recommended timelines, and can educate voters accordingly, is important to achieving a
successful election season. Please reach out to your assigned election mail coordinator to discuss
the logistics of your mailings and the services that are available as well as any questions you may
have. A list of election mail coordinators may be found on our website at:
https://about.usps.com/election-mail/polilicalelection-mail-coordinators.pdf.

We hope the information contained in this letter is helpful, and please let me know if you have any
questions or concerns.

Sincerely,
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       THOMAS      J.   MARSHALL
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~ POSTJJL SERVICE

         July 31, 2020


         Honorable Alice Miller
         Executive Director
         DC Board of Elections & Ethics
         1015 Half Street, SE, Suite 750
         Washington, DC 20003-4733

         Dear Ms. Miller:

         Re: Deadlines for Mailing Ballots

         With the 2020 General Election rapidly approaching, this letter follows up on my letter dated May 29,
         2020, which I sent to election officials throughout the country. That letter highlighted some key
         aspects of the Postal Service's delivery processes. The purpose of this letter Is to focus specifically
         on the deadlines for transmitting and casting ballots by mail. It is our understanding that the District
         of Columbia intends to automatically mail ballots to voters ahead of the November 3 general election.
         However, we were not able to find complete information regarding certain deadlines, and therefore
         cannot fully assess whether your planned use of the mail aligns with the Postal Service's delivery
         standards. As you continue to plan for the general election, please keep in mind that any mismatch
         between your election deadlines and the Postal Service's delivery standards could create a risk that
         ballots will not be returned by mail in time to be counted.

        As I stated in my May 29 letter, the two main classes of mail that are used for ballots are First-Class
        Mail and USPS Marketing Mail, the latter of which Includes the Nonprofit postage rate. Voters must
        use First-Class Mail (or an expedited level of service) to mail their ballots and ballot requests, while
        state or local election officials may generally use either First-Class Mail or Marketing Mail to mail
        blank ballots to voters. While the specific transit times for either class of mail cannot be guaranteed,
        and depend on factors such as a given mailpiece's place of origin and destination, most domestic
        First-Class Mail is delivered 2-5 days after it is received by the Postal Service, and most domestic
        Marketing Mail is delivered 3-1O days after it is received.

        For jurisdictions that intend to automatically send blank mail-in ballots to eligible voters, the Postal
        Service strongly recommends adhering to the following timeline for domestic voters to account for
        the above delivery standards and to allow for contingencies (e.g. , weather issues or unforeseen
        events):

               •      Voter registration: Whenever possible, voters who intend to cast a ballot using the mail
                      should ensure that their registration information is up-to-date in time to have a blank ballot
                      sent to them in the jurisdiction's initial scheduled mailing, which should occur no later than
                      15 days before the election .

               •      Mailing blank ballots to voters: Election officials should consider that the ballot needs to
                      be in the hands of the voter so that he or she has adequate time to complete it and put it
                      back in the mail stream so that it can be processed and delivered by the applicable deadline.
                      Accordingly, the Postal Service recommends that election officials use First-Class Mail to


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                transmit blank ballots and allow 1 week for delivery to voters. Using Marketing Mail will
                result in slower delivery times and will increase the risk that voters will not receive their
                ballots in time to return them by mail.

         •      Malling completed ballots to election officials: To allow enough time for ballots to be
                returned to election officials, domestic voters should generally mail their completed ballots at
                least one week before the jurisdiction's due date. In locations that require mail-in ballots to
                be both postmarked by Election Day and received by election officials by a specific date that
                is one week or more after Election Day, voters may generally mail their ballot on or before
                Election Day. However, voters who mail in their ballots on Election Day must be aware of
                the posted collection times on collection boxes and at the Postal Service's retail facilities,
                and that ballots entered after the last posted collection time on a given day will not be
                postmarked until the following business day.

     Under our reading of the D.C.'selection laws, as in effect on July 27, 2020, it appears that ballots will
     generally be mailed to eligible voters and that a completed ballot must be postmarked by Election
     Day and received 7 days after the election. However, we were unable to find additional details about
     the scheduled mailing times for election officials to send voters a blank ballot. We were also unable
     to determine whether the last day for voters to register and still receive a ballot by mail would be set
     using new or existing registration deadlines, or whether another type of request process would be
     put into place. Without this additional information, we are unable to assess the potential risks with
     respect to the Postal Service's delivery standards at this time. If you choose to transmit blank ballots
     to voters by mail, please consider the recommended timeframes above as you continue to plan for
     the November general election. Adhering to those timeframes will help ensure voters will have
     sufficient time to complete and mail the completed ballot back to election officials in time for it to
     arrive by the jurisdiction's return deadline.

     To be clear, the Postal Service is not purporting to definitively interpret the requirements of your
     jurisdiction's election laws, and also is not recommending that such laws be changed to
     accommodate the Postal Service's delivery standards. By the same token, however, the Postal
     Service cannot adjust its delivery standards to accommodate the requirements of state election law.
     For this reason, the Postal Service asks that election officials keep the Postal Service's delivery
     standards and recommendations in mind when making decisions as to the appropriate means used
     to send a piece of Election Mail to voters, and when informing voters how to successfully participate
     in an election where they choose to use the mail. It is particularly important that voters be made
     aware of the transit times for mail (Including mail-in ballots) so that they can make informed
     decisions about when to register and whether and when to mail a completed ballot back to election
     officials.

     We remain committed to sustaining the mail as a secure, efficient, and effective means to allow
     citizens to participate in the electoral process when election officials determine to utifize the mail as a
     part of their election system. Ensuring that you have an understanding of our operational capabilities
     and recommended timelines, and can educate voters accordingly, is important to achieving a
     successful election season. Please reach out to your assigned election mail coordinator to discuss
     the logistics of your mailings and the services that are available as well as any questions you may
     have. A list of election mail coordinators may be found on our website at:
     https://about.usps.com/election-mail/politicalelection-mail-coordinators.pdf.

     We hope the information contained in this letter is helpful, and please let me know if you have any
     questions or concerns.

     Sincere!
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      THOMAS J. MARsHAU
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                                                                                                   Secretary of State
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       July 29, 2020



       Honorable Matt Dunlap
       Maine Secretary of State
       148 State House Station
       Augusta, ME 04333-0148

       Dear Secretary Dunlap:

       Re: Deadlines for Mailing Ballots

       With the 2020 General Election rapidly approaching, this letter follows up on my letter dated May 29,
       2020, which I sent to election officials throughout the country. That letter highlighted some key
       aspects of the Postal Service's delivery processes. The purpose of this letter is to focus specifically
       on the deadlines for requesting and casting ballots by mail. In particular, we wanted to note that,
       under our reading of Maine's election laws, certain deadlines for requesting and casting mail-in
       ballots are incongruous with the Postal Service's delivery standards. This mismatch creates a risk
       that ballots requested near the deadline under state law will not be returned by mail in time to be
       counted under your laws as we understand them .

       As I stated in my May 29 letter, the two main classes of mail that are used for ballots are First-Class
       Mail and USPS Marketing Mail, the latter of which includes the Nonprofit postage rate. Voters must
       use First-Class Mail (or an expedited level of service) to mail their ballots and ballot requests, while
       state or local election officials may generally use either First-Class Mail or Marketing Mail to mail
       blank ballots to voters. While the specific transit times for either class of mail cannot be guaranteed,
       and depend on factors such as a given mailpiece's place of origin and destination, most domestic
       First-Class Mail is delivered 2-5 days after it is received by the Postal Service, and most domestic
       Marketing Mail is delivered 3-10 days after it is received .

       To account for these delivery standards and to allow for contingencies (e.g., weather issues or
       unforeseen events), the Postal Service strongly recommends adhering to the following timeframe
       when using the mail to transmit ballots to domestic voters:

            •      Ba llot requests : Where voters will both receive and send a ballot by mail, voters should
                   submit their ballot request early enough so that it is received by their election officials at least
                   15 days before Election Day at a minimum , and preferably long before that time.

            •     Mailing blank ballots to voters: In responding to a ballot request, election officials should
                  consider that the ballot needs to be in the hands of the voter so that he or she has adequate
                  time to complete it and put it back in the mail stream so that it can be processed and
                  delivered by the applicable deadline. Accordingly, the Postal Service recommends that
                  election officials use First-Class Mail to transmit blank ballots and allow 1 week for delivery
                  to voters. Using Marketing Mail will result in slower delivery times and will increase the risk
                  that voters will not receive their ballots in time to return them by mail.



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    •   Mailing completed ballots to election officials: To allow enough time for ballots to be
        returned to election officials, domestic voters should generally mail their completed ballots at
        least one week before the state's due date. So, if state law requires ballots to be returned by
        Election Day, voters should mail their ballots no later than Tuesday, October 27.

Under our reading of your state's election laws, as in effect on July 27, 2020, certain state-law
requirements and deadlines appear to be incompatible with the Postal Service's delivery standards
and the recommended timeframe noted above. As a result, to the extent that the mail is used to
transmit ballots to and from voters, there is a significant risk that, at least in certain circumstances,
ballots may be requested in a manner that is consistent with your election rules and returned
promptly, and yet not be returned in time to be counted .

Specifically, it appears that a completed ballot must be received by Election Day to be counted. If
that understanding is correct, we accordingly recommend, as noted above, that voters who choose
to mail their ballots do so no later than Tuesday, October 27. However, it further appears that state
law generally permits voters to request a ballot as late as the 3rd business day before the election. If
a voter submits such a request at or near that deadline, and if the requested ballot is transmitted to
the voter by mail, there is a significant risk that the ballot will not reach the voter before Election Day,
and accordingly that the voter will not be able to use the ballot to cast his or her vote. Even if a voter
receives a ballot before Election Day, there is a significant risk that the voter will not have sufficient
time to complete and mail the completed ballot back to election officials in time for it to arrive by the
state's return deadline. That risk is exacerbated by the fact that the law does not appear to impose a
time period by which election officials must transmit a ballot to the voter in response to a request.

To be clear, the Postal Service is not purporting to definitively interpret the requirements of your
state's election laws, and also is not recommending that such laws be changed to accommodate the
Postal Service's delivery standards. By the same token, however, the Postal Service cannot adjust
its delivery standards to accommodate the requirements of state election law. For this reason , the
Postal Service asks that election officials keep the Postal Service's delivery standards and
recommendations in mind when making decisions as to the appropriate means used to send a piece
of Election Mail to voters, and when informing voters how to successfully participate in an election
where they choose to use the mail. It is particularly important that voters be made aware of the
transit times for mail (including mail-in ballots) so that they can make informed decisions about
whether and when to (1) request a mail-in ballot, and (2) mail a completed ballot back to election
officials.

We remain committed to sustaining the mail as a secure, efficient, and effective means to allow
citizens to participate in the electoral process when election officials determine to utilize the mail as a
part of their election system. Ensuring that you have an understanding of our operational capabilities
and recommended timelines, and can educate voters accordingly, is important to achieving a
successful election season. Please reach out to your assigned election mail coordinator to discuss
the logistics of your mailings and the services that are available as well as any questions you may
have. A list of election mail coordinators may be found on our website at:
https://about. usps.com/election-mail/politicalelection-mail-coordinators.pdf.

We hope the information contained in this letter is helpful, and please let me know if you have any
questions or concerns.

Sincerely,
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      THOMAS      J.   MARsHALL
      GENERAi. CouNse..
      ANO   E><Ecvnve VICE   PRESIDENT



S=!!J1 UNITED STIJTES
~ POSTIJL SERVICE


       July 30, 2020



       Honorable William Galvin
       Secretary of the Commonwealth of Massachusetts
       State House
       24 Beacon Street, Room 337
       Boston , MA 02133-1099

       Dear Secretary Galvin:

       Re: Deadlines for Mailing Ballots

       With the 2020 General Election rapidly approaching, this letter follows up on my letter dated May 29,
       2020, which I sent to election officials throughout the country. That letter highlighted some key
       aspects of the Postal Service's delivery processes. The purpose of this letter is to focus specifically
       on the deadlines for requesting and casting ballots by mail. In particular, we wanted to note that,
       under our reading of Massachusetts' election laws, certain deadlines for requesting and casting mail-
       in ballots are incongruous with the Postal Service's delivery standards. This mismatch creates a risk
       that ballots requested near the deadline under state law will not be returned by mail in time to be
       counted under your laws as we understand them.

       As I stated in my May 29 letter, the two main classes of mail that are used for ballots are First-Class
       Mail and USPS Marketing Mail, the latter of which includes the Nonprofit postage rate. Voters must
       use First-Class Mail (or an expedited level of service) to mail their ballots and ballot requests, while
       state or local election officials may generally use either First-Class Mail or Marketing Mail to mail
       blank ballots to voters. While the specific transit times for either class of mail cannot be guaranteed,
       and depend on factors such as a given mailpiece's place of origin and destination, most domestic
       First-Class Mail is delivered 2-5 days after it is received by the Postal Service, and most domestic
       Marketing Mail is delivered 3-10 days after it is received.

       To account for these delivery standards and to allow for contingencies (e.g. , weather issues or
       unforeseen events), the Postal Service strongly recommends adhering to the following timeframe
       when using the mail to transmit ballots to domestic voters:

              •        Ballot requests: Where voters will both receive and send a ballot by mail, voters should
                       submit their ballot request early enough so that it is received by their election officials at least
                       15 days before Election Day at a minimum, and preferably long before that time.

              •     Mailing blank ballots to voters: In responding to a ballot request, election officials should
                    consider that the ballot needs to be in the hands of the voter so that he or she has adequate
                    time to complete it and put it back in the mail stream so that it can be processed and
                    delivered by the applicable deadline. Accordingly, the Postal Service recommends that
                    election officials use First-Class Mail to transmit blank ballots and allow 1 week for delivery
                    to voters. Using Marketing Mail will result in slower delivery times and will increase the risk
                    that voters will not receive their ballots in time to return them by mail.


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    •   Mailing completed ballots to election officials: To allow enough time for ballots to be
        returned to election officials, domestic voters should generally mail their completed ballots at
        least one week before the state's due date. In states that allow mail-in ballots to be counted
        if they are both postmarked by Election Day and received by election officials by a specific
        date that is less than a week after Election Day, voters should mail their ballots at least one
        week before they must be received by election officials. So, for example, if state law
        requires a mail-in ballot to be postmarked by Tuesday, November 3, and received by Friday,
        November 6, voters should mail their ballot by Friday, October 30, to allow enough time for
        the ballots to be delivered by November 6. Voters must also be aware of the posted
        collection times on collection boxes and at the Postal Service's retail facilities and that
        ballots entered after the last posted collection time on a given day will not be postmarked
        until the following business day.

Under our reading of your state's election laws, as in effect on July 27, 2020, certain state-law
requirements and deadlines appear to be incompatible with the Postal Service's delivery standards
and the recommended timeframe noted above. As a result, to the extent that the mail is used to
transmit ballots to and from voters, there is a significant risk that, at least in certain circumstances,
ballots may be requested in a manner that is consistent with your election rules and returned
promptly, and yet not be returned in time to be counted.

Specifically, it appears that a voter may generally request a ballot as late as 4 business days before
the November general election, and that a completed ballot must be postmarked by Election Day
and received by election officials within 3 days after the election . If a voter submits a request at or
near the ballot-request deadline, and if the requested ballot is transmitted to the voter by mail, there
is a significant risk that the ballot will not reach the voter before Election Day, and accordingly that
the voter will not be able to use the ballot to cast his or her vote. That risk is exacerbated by the fact
that the law does not appear to impose a time period by which election officials must transmit a ballot
to the voter in response to a request. Even if the requested ballot reaches the voter by Election Day,
there is a risk that, given the delivery standards for First-Class Mail, a completed ballot postmarked
on or close to Election Day will not be delivered in time to meet the state's receipt deadline of
November 6. As noted above, voters who choose to mail their ballots should do so no later than
Friday, October 30.

To be clear, the Postal Service is not purporting to definitively interpret the requirements of your
state's election laws, and also is not recommending that such laws be changed to accommodate the
Postal Service's delivery standards. By the same token , however, the Postal Service cannot adjust
its delivery standards to accommodate the requirements of state election law. For this reason, the
Postal Service asks that election officials keep the Postal Service's delivery standards and
recommendations in mind when making decisions as to the appropriate means used to send a piece
of Election Mail to voters, and when informing voters how to successfully participate in an election
where they choose to use the mail. It is particularly important that voters be made aware of the
transit times for mail (including mail-in ballots) so that they can make informed decisions about
whether and when to (1) request a mail-in ballot, and (2) mail a completed ballot back to election
officials.

We remain committed to sustaining the mail as a secure, efficient, and effective means to allow
citizens to participate in the electoral process when election officials determine to utilize the mail as a
part of their election system. Ensuring that you have an understanding of our operational capabilities
and recommended timelines, and can educate voters accordingly, is important to achieving a
successful election season. Please reach out to your assigned election mail coordinator to discuss
the logistics of your mailings and the services that are available as well as any questions you may
have. A list of election mail coordinators may be found on our website at:
https://about.usps.com/election-mail/politicalelection-mail-coordinators.pdf.
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    We hope the information contained in this letter is helpful, and please let me know if you have any
    questions or concerns.

    Sincerely,
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     THOMAS     J.   MARSHALL
     GENERAL COUNSEL
     ANO ExECVTIVE VICE PRESIDENT


~ UNITED STIJTES
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                                                                                    AUG l 3 2020
      July 30, 2020



      Honorable Elaine Marshall
      North Carolina Secretary of State
      P.O. Box 29622
      Raleigh, NC 27626-0622

      Dear Secretary Marshall:

      Re: Deadlines for Malling Ballots

      With the 2020 General Election rapidly approaching, this letter follows up on my letter dated May 29,
      2020, which I sent to election officials throughout the country. That letter highlighted some key
      aspects of the Postal Service's delivery processes. The purpose of this letter is to focus specifically
      on the deadlines for requesting and casting ballots by mail. In particular, we wanted to note that,
       under our reading of North Carolina's election laws, certain deadlines for requesting and casting
       mail-in ballots are incongruous with the Postal Service's delivery standards. This mismatch creates
      a risk that ballots requested near the deadline under state law will not be returned by mail in time to
     . be counted under your laws as we understand them.

      As I stated in my May 29 letter, the two main classes of mail that are used for ballots are First-Class
      Mail and USPS Marketing' Mail, the latter of which includes the Nonprofit postage rate. Voters must
      use First-Class Mail {or an expedited level of service) to mail their ballots and ballot requests, while
      state or local election officials may generally use either First-Class Mail or Marketing Mail to mail
      blank ballots to voters. While the specific transit times for either class of mail cannot be guaranteed,
      and depend on factors such as a given mailpiece's place of origin and destination, most domestic
      First-Class Mail is delivered 2-5 days after it is received by the Postal Service, and most domestic
      Marketing Mail is delivered 3-10 days after it is received.

     To account for these delivery standards and to allow for contingencies {e.g., weather issues or
     unforeseen events), the Postal Service strongly recommends adhering to the following timeframe
     when using the mail to transmit ballots to domestic voters:

            •    Ballot requests: Where voters will both receive and send a ballot by mail, voters should
                 submit their ballot request early enough so that it is received by their election officials at least
                 15 days before Election Day at a minimum, and preferably long before that time.

            •    Mailing blank ballots to voters: In responding to a ballot request, election officials should
                 consider that the ballot needs to be in the hands of the voter so that he or she has adequate
                 time to complete it and put it back in the mail stream so that it can be processed and
                 delivered by the applicable deadline. Accordingly, the Postal Service recommends that
                 election officials use First-Class Mail to transmit blank ballots and allow 1 week for delivery
                 to voters. Using Marketing Mail will result in slower delivery times and will increase the risk
                 that voters will not receive their ballots in time to return them by mail.




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    •     Mailing completed ballots to election officials: To allow enough time for ballots to be
          returned to election officials, domestic voters should generally mail their completed ballots at
          least one week before the state's due date. In states that allow mail-in ballots to be counted
          if they are both postmarked by Election Day and received by election officials by a specific
          date that is less than a week after Election Day, voters should mail their ballots at least one
          week before they must be received by election officials. So, for example, If state law
          requires a mail-in ballot to be postmarked by Tuesday, November 3, and received by Friday,
          November 6, voters should mail their ballot by Friday, October 30, to allow enough time for
          the ballots to be delivered by November 6. Voters must also be aware of the posted
          collection times on collection boxes and at the Postal Service's retail facilities and that
          ballots entered after the last posted collection time on a given day will not be postmarked
          until the following business day.

Under our reading of your state's election laws, as in effect on July 27, 2020, certain state-law
requirements and deadlines appear to be incompatible with the Postal Service's delivery standards
and the recommended timeframe noted above. As a result, to the extent that the mail is used to
transmit ballots to and from voters, there is a significant risk that, at least in certain circumstances,
ballots may be requested in a manner that is consistent with your election rules and returned
promptly, and yet not be returned in time to be counted.

Specifically, it appears that a voter may generally request a ballot as late as 7 days before the
November general election, and that a completed ballot must be postmarked by Election Day and
received by election officials no later than 3 days after the election. If a voter submits a request at or
near the ballot-request deadline, and if the requested ballot is transmitted to the voter by mail, there
is a risk that the ballot wlll not reach the voter before Election Day, and accordingly that the voter will
not be able to use the ballot to cast his or her vote. That risk is exacerbated by the fact that the law
does not appear to impose a time period by which election officials must transmit a ballot to the voter
in response to a request. Even if the requested ballot reaches the voter by Election Day, there is a
risk that, given the delivery standards for First-Class Mail, a com_pleted ballot postmarked on or close
to Election Day will not be delivered in time to meet the state's receipt deadline of November 6. As
noted above, voters who choose to mail their ballots should do so no later than Friday, October 30.

To be clear, the Postal Service is not purporting to definitively interpret the requirements of your
state's election laws, and also is not recommending that such laws be changed to accommodate the
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successful election season. Please reach out to your assigned election mail coordinator to discuss
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We hope the information contained in this letter is helpful, and please let me know if you have any
questions or concerns.




Thomas J.
